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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   WESCO INSURANCE COMPANY       )                         Case No.: 2:19-cv-8171 PA (SKx)
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                                   )
               Plaintiff,          )                         ORDER OF DISMISSAL OF CASE
13
                                   )                         PURSUANT TO STIPULATION
           vs.                     )
14
                                   )                         Judge:                    Hon. Percy Anderson
     TAULER SMITH LLP, ROMA MIKHA, )
     INC., NMRM, INC., AND SKYLINE )                         Dept:                     Courtroom 9A
15   MARKET, INC.                  )                         Action Filed:             September 20, 2019
16
                                   )                         Trial Date:               September 1, 2020
               Defendants.         )
17
                                   )

18         Pursuant to the stipulation of all remaining parties, Wesco Insurance
19   Company’s complaint and Tauler Smith LLP’s counterclaim against Wesco are
20   dismissed with prejudice. All pending pleadings having been voluntarily dismissed
21   this case is thereby dismissed.
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23
     Dated this 1st day of May, 2020
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                                                                           Percy Anderson
26                                                                    United States District Judge
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                                  Order of Dismissal of Case Pursuant to Stipulation
